                                                                          THE HONORABLE Brian D. Lynch
 1                                                                                         CHAPTER 13
                                                                            HEARING DATE: August 11, 2015
 2                                                                               HEARING TIME: 1:00 p.m.
                                                                                LOCATION: Vancouver, WA
 3                                                                           RESPONSE DUE: August 4, 2015

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 5                                UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF WASHINGTON
 6

 7                                                          )    Case No.     15-42227 BDL Ch. 13
     In re:                                                 )
 8            Barry Winston Burnham, Sr.                    )    DEBTOR’S OBJECTION TO CLAIM #6
              Catalina Burnham                              )    OF WELLS FARGO BANK, NA (MOR
 9                                                          )    FURNITURE)
                                                            )
10   Debtor(s)                                              )
                                                            )
11    TO:      Clerk of the United States Bankruptcy Court; and All parties in interest:

12   PLEASE TAKE NOTICE that Debtor’s Objection to Claim #6 IS SET FOR HEARING as follows:

13               DATE OF HEARING                  August 11, 2015
                 TIME                             1:00 pm
14
                 JUDGE                            Hon. Brian D. Lynch
15               LOCATION                         Federal         Building
                                                  500 West 12th Street, 2nd
16                                                Floor
                                                  Vancouver, WA 98660
17               RESPONSE DUE                      August 4, 2015

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               IF YOU OPPOSE the motion you must file your written response with the court clerk,
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     and deliver copies to the undersigned and all interested parties NOT LATER THAN THE RESPONSE
20   DATE.

21             IF NO RESPONSE IS TIMELY FILED AND SERVED, the Court may, in its discretion,
     GRANT THE MOTION PRIOR TO THE HEARING WITHOUT FURTHER NOTICE, and
22
     strike the hearing.
23                                                      MOTION

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     NOTICE OF HEARING AND MOTION ON DEBTOR’S OBJECITON TO CLAIM
            COMES NOW the Debtor, by and through their attorney of record, objects to Claim #6 of
 1
     Wells Fargo Bank NA. in the amount of $1,914.00. The basis for the objection is as follows:
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            Case Information: Debtors plan was confirmed on 7/2/15.
 3
            Basis for Objection:
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                A. Debtors did not sign the portion of the contract giving Wells Fargo Bank NA (Mor
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                    Furniture) a security interest in the items purchased, therefore the debt is unsecured.
 6          WHEREFORE, Debtor respectfully requests that this Court sustain Debtor’s objection and
 7   treat Claim #6 as a general unsecured claim.
            DATED: July 8, 2015
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                                                            Respectfully submitted:

10                                                          /s/ Mark A. Ditton #45432     ______
                                                            Mark A. Ditton, WSBA#45432
11                                                          Attorney for Debtor(s)
                                                            14900 Interurban Ave. S. #265
12                                                          Seattle, WA 98168
                                                            206-674-4602
13                                                          mark@nwrelief.com

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     NOTICE OF HEARING AND MOTION ON DEBTOR’S OBJECITON TO CLAIM
